601 F.2d 584
    Datacon, Inc.v.Dun &amp; Bradstreet, Inc.*#
    No. 79-1548
    United States Court of Appeals, Fifth Circuit
    7/31/79
    N.D.Tex., 465 F.Supp. 706
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    